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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI

TONY SALVATORE                               )
                                             )
                Plaintiff,                   )    Case No. 4:19-cv-00660
                                             )
v.                                           )
                                             )
THE CITY OF WILDWOOD,                        )
a municipal corporation                      )
                                             )
and                                          )
                                             )
JAMES BOWLIN                                 )
                                             )
and                                          )
                                             )
RYAN THOMAS                                  )
                                             )
and                                          )
                                             )
RAYMOND MANTON                               )
                                             )
                Defendants.                  )

                                   SUGGESTION OF DEATH

         Comes now John R. Hamill III, Attorney for The City of Wildwood, James Bowlin, Ryan

Thomas and Raymond Manton, and suggests to the Court the death of Defendant Raymond Manton

on or about May 16, 2019.

         Dated this 21st day of May, 2019.
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                                                    BARKLAGE, BRETT & HAMILL, P.C.


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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document was

served upon those persons named below, this 21st day of May, 2019 via the Courts electronic filing

system to:

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